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JS-6

IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

Case No. CV 20-9936 JFW (MRW)
STEPHAN E. CLARK,

Petitioner,

JUDGMENT

Vv.

PEOPLE OF THE STATE OF
CALIFORNIA,

Respondent.

 

 

Pursuant to the Order Accepting Findings and Recommendations of
the United States Magistrate Judge,
IT IS ADJUDGED that the petition is denied and this action is

fx DL

TIGIN. JOHN F. WALTER
NITED STATES DISTRICT JUDGE

dismissed with prejudice.

 

DATE: _ February 4, 2022

  
  

 

 
